IN THE SUPREME COURT OF TEXAS


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                                 No. 04-0607
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        In Re  The John G. &amp; Marie Stella Kenedy Memorial Foundation,

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                      On Petition for Writ of Mandamus
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      ORDER

      1.    This above-referenced cause is  ABATED  pending  the  Thirteenth
Court of Appeals' decisions in case numbers: 13-06-00149, Ann  M.  Fernandez
v. Frost National Bank, et al., 13-06-00170, Ann M. Fernandez  v.  The  John
G. and Marie Stella Kenedy Memorial Foundation, and 13-06-00539-CV,  Ann  M.
Fernandez v. The John G. and Marie  Stella  Kenedy  Foundation,  et  al.  2.
This cause is removed from the Court's active docket until further order  of
this Court.  The parties shall  immediately  notify  this  Court  about  any
changes in status.

      Done at the City of Austin, this 15th day of February, 2008.

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                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




